          Case: 3:20-cv-00971-jdp Document #: 3 Filed: 10/21/20 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

 DAVARIUS LAVALLE RIGGINS,

          Plaintiff,                                                          ORDER
    v.
                                                                       Case No. 20-cv-971-jdp
 SHERIFF DAVID MAHONEY, et al.

          Defendants.


         Plaintiff Davarius Lavalle Riggins, an inmate in the custody of the Dane County

Jail, has submitted a proposed civil action under 42 U.S.C. § 1983. Plaintiff requests leave

to proceed without prepaying the fee. Plaintiff has submitted a certified trust fund account

statement (dkt. 3) in case no. 20-cv-947-jdp. Therefore, I will adopt the certified trust fund

account statement filed in case no. 20-cv-947-jdp when deciding plaintiff’s request in this

case. After considering the motion and supporting documentation, the court concludes

that plaintiff qualifies for indigent status.

         Even when an inmate litigant qualifies for indigent status, the litigant must pay a

portion of the fee returned by the formula set forth in 28 U.S.C. § 1915(b)(1). Using

information for the relevant time period from plaintiff’s trust fund account statement,

I conclude plaintiff’s initial partial filing fee to be $9.36. For this case to proceed, plaintiff

must submit this amount on or before November 12, 2020.
         Case: 3:20-cv-00971-jdp Document #: 3 Filed: 10/21/20 Page 2 of 2




                                             ORDER

        IT IS ORDERED that,

        1.     Plaintiff Davarius Lavalle Riggins is assessed $9.36 as an initial partial payment

of the $350.00 fee for filing this case. Plaintiff is to submit a check or money order made

payable to the clerk of court in the amount of $9.36 or advise the court in writing why

plaintiff is not able to submit the assessed amount on or before November 12, 2020.

        2.     If, by November 12, 2020, plaintiff fails to make the initial partial payment

or show cause for failure to do so, plaintiff will be held to have withdrawn this action

voluntarily and the case will be closed without prejudice to plaintiff filing this case at a later

date.

        3.     No further action will be taken in this case until the clerk’s office receives

plaintiff’s initial partial filing fee as directed above and the court has screened the complaint

as required by the Prison Litigation Reform Act, 28 U.S.C. § 1915A. Once the screening

process is complete, a separate order will issue.

               Entered this 21st day of October, 2020.

                                     BY THE COURT:


                                     /s/
                                     PETER OPPENEER
                                     Magistrate Judge




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